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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

          Plaintiff,
                                                                      Case No. 1:21-cr-74-1
 v.
                                                                      HON. JANET T. NEFF
 KEVIN BRIAN WARD,

       Defendant.
 ____________________________/


                 ORDER ADOPTING REPORT AND RECOMMENDATION

         The Court has reviewed the Report and Recommendation filed on November 17, 2021 by

the United States Magistrate Judge in this action. The Report and Recommendation was duly

served on the parties, and no objection has been made thereto within the time required by law.

         THEREFORE, IT IS ORDERED that:

         1.      The Report and Recommendation of the Magistrate Judge (ECF No. 71) is

approved and adopted as the opinion of the Court.

         2.      Defendant’s pleas of guilty are accepted and defendant is adjudicated guilty of the

charges set forth in Counts One, Two, and Seven of the Superseding Indictment.

         3.      The written plea agreement is hereby continued under advisement pending

sentencing.



Dated: December 2, 2021                                         /s/ Janet T. Neff
                                                              JANET T. NEFF
                                                              United States District Judge
